               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:18-cv-00002-MR-WCM


SARA B. CONNER, individually    )
and on behalf of all others     )
similarly situated,             )
                                )
                   Plaintiff,   )
                                )               MEMORANDUM OF
     vs.                        )               DECISION AND ORDER
                                )
CLEVELAND COUNTY, NORTH         )
CAROLINA, also known as         )
Cleveland County Emergency      )
Medical Services,               )
                                )
                   Defendant.   )
_______________________________ )


        THIS MATTER is before the Court on the parties’ Joint Motion for

Order Approving Stipulations of Fact [Doc. 107]; the Defendant’s Motion for

Summary Judgment [Doc. 108]; and the Plaintiffs’ Motion for Summary

Judgment [Doc. 111].

I.      PROCEDURAL BACKGROUND

        On January 2, 2018, Sara B. Conner (“Conner”) filed this action

individually and on behalf of all others similarly situated against Defendant

Cleveland County Emergency Medical Services (“CCEMS”), asserting

claims for a violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §


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201 et seq., and a violation of the North Carolina Wage and Hour Act

(“NCWHA”), N.C. Gen. Stat. § 95-25.1 et seq.1 [Doc. 1]. CCEMS filed its

answer on January 30, 2018 [Doc. 3], and on May 1, 2018, Conner moved

for leave to file an amended complaint [Doc. 15]. The Court granted Conner

leave and Conner filed an Amended Complaint on June 5, 2018. [Doc. 22].

Conner’s Amended Complaint asserts claims against CCEMS for a violation

of the FLSA and for breach of contract under state law. [Id.]. CCEMS filed

its answer to the Amended Complaint on July 2, 2018. [Doc. 27].

         On November 13, 2018, Conner filed a Motion to Certify Class and

Collective Action, seeking conditional certification of a collective action for

the FLSA claim pursuant to 29 U.S.C. § 216(b) and certification of a class

action for the breach of contract pursuant to Rule 23 of the Federal Rules of

Civil Procedure. [Doc. 35]. On December 21, 2018, CCEMS filed a Motion

to Dismiss Conner’s claims.             [Doc. 40].    On January 4, 2019, Conner

responded to CCEMS’s Motion to Dismiss. [Doc. 43]. On August 21, 2019,

the Court adopted the Memorandum and Recommendation of the Honorable

W. Carleton Metcalf, United States Magistrate Judge, dismissing Conner’s

FLSA claim with prejudice and declining to exercise supplemental jurisdiction

over Conner’s state law claim. [Doc. 59]. The Court therefore denied as


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    The parties stipulated to the dismissal of the NCWHA claim on April 2, 2018. [Doc. 14].
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moot Conner’s Motion for Collective and Class Certification. [Id.]. Conner

appealed this Court’s dismissal, and on January 5, 2022, the Fourth Circuit

issued an opinion vacating this Court’s August 21, 2019, order, concluding

that Conner had stated a cognizable claim for a FLSA violation and

remanding for further proceedings on the merits of Conner’s claims. Conner

v. Cleveland Cnty., 22 F.4th 412, 429 (4th Cir. 2022).

      On April 24, 2023, this Court granted Conner’s Motion to Revive Motion

for Collective and Class Certification; granted Conner’s Motion for Collective

and Class Certification for Conner’s FLSA claim and breach of contract

claim, respectively; and denied CCEMS’s Motion to Dismiss Conner’s

breach of contract claim. [Doc. 84]. Initially, sixteen employees joined

Conner’s action [Docs. 91, 92, 93, 95], but seven of these individuals later

revoked their consent to join the action [Docs. 99, 100, 101, 102], leaving

Conner and eight opt-in plaintiffs (collectively, the “Plaintiffs”).

      On July 12, 2024, both parties moved for summary judgment on both

the FLSA claim and the breach of contract claim. [Docs. 108, 111]. On July

26, 2024, both parties filed responses to the other party’s motion. [Docs.

115, 116]. On August 9, 2024, both parties filed replies to the other party’s

response. [Docs. 119, 120]. On November 15, 2024, the Court issued an

Order scheduling a hearing on the parties’ motions for summary judgment.


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[Doc. 122]. This hearing was held on December 18, 2024. At the hearing,

the Court asked the parties to provide the Court with a spreadsheet that

contained the following information for each Plaintiff during the time covered

by the Amended Complaint: (1) hours worked each week; (2) the amount

owed each week; (3) the amount actually paid each week in both overtime

and straight time; and (4) the difference between the amount owed and the

amount actually paid each week. The Court also permitted the parties to file

supplemental briefs containing limited argument. On January 31, 2025, the

parties each filed briefs [Docs. 125, 126] and provided spreadsheets to the

Court. These motions are now ripe for review.

II.      STANDARD OF REVIEW

         Summary judgment is appropriate if the pleadings, depositions,

answers, admissions, stipulations, affidavits, and other materials on the

record show “that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a), (c).

“When the facts are undisputed, summary judgment is appropriate only if

one party is entitled to judgment as a matter of law.” Bakery & Confectionery

Union & Indus. Int’l Pension Fund v. Ralph’s Grocery Co., 118 F.3d 1018,

1020 (4th Cir. 1997) (citing Fed. R. Civ. P. 56(c)).




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          Where, as here, the parties have filed cross-motions for summary

judgment, the Court must consider “each motion separately on its own merits

to determine whether either of the parties deserves judgment as a matter of

law.” Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir. 2003) (internal

quotation marks and citation omitted). In doing so, however, the Court may

only consider admissible evidence. Fed. R. Civ. P. 56; Evans v. Techs

Applications Serv. Co., 80 F.3d 954, 962 (4th Cir. 1996).

III.      FACTUAL BACKGROUND

          Here, the facts are not in dispute.2 Both parties argue that, based on

the undisputed facts, they are entitled to summary judgment as a matter of

law.

          Conner3 has been a full-time Emergency Medical Services (“EMS”)

employee at CCEMS since July 2007. [Doc. 110-1: Conner’s Deposition at

67–68]. As a full-time EMS employee at CCEMS, Conner was scheduled to

work 24-hour shifts every third day, with 48 hours off in between (the “24/48

schedule”).      [Id. at 117].    In any given seven-day workweek, CCEMS

employees on the 24/48 schedule work either 48 or 72 hours. This results


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 The parties have submitted a Joint Motion for Order Approving Stipulations of Fact [Doc.
107]. Because the facts are not in dispute, the Court will deny the parties’ Joint Motion
as moot.
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  The Court uses Conner’s employment with CCEMS to illustrate the nature of each
Plaintiff’s employment and the scheme under which each Plaintiff was paid.
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in a three-week recurring cycle whereby an employee will work a 48-hour

week the first week, a 72-hour week the second week, and a 48-hour week

the third week.4     [Id.].    Until 2018, CCEMS paid Conner based on the

following facts and in the manner that follows.

       A.    The Ordinances

       Cleveland    County       established         a   Code    of   Ordinances     (the

“Ordinances”). [Doc. 112-3: Ordinances]. The Ordinances contain a section

entitled “Personnel” that governs Cleveland County employees, including

CCEMS employees.              [Id. at 21].         The Personnel Section states that

Cleveland County intends to provide overtime wages for all non-exempt

employees pursuant to the FLSA. [Id. at 32–33].

       The Personnel Section also contains a payment system where jobs are

classified and assigned a salary grade. [Id. at 49–69]. Each salary grade

corresponds with a range of minimum and maximum salaries for specific

classifications of employees.         [Id.].        As of July 1, 2016, Conner’s job

classification was “EMT-Paramedic” [Doc. 110-1: Conner’s Deposition at 67–

68], which was assigned a salary grade 65, corresponding to a minimum




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  For instance, in the first week the employee would work 24 hours on Monday and
Thursday; the next week on Sunday, Wednesday, and Saturday; and the third week on
Tuesday and Friday, resulting in a 48-hour week, followed by a 72-hour week, followed
by another 48-hour week. Then the cycle repeated.
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annual salary of $33,606 and a maximum annual salary of $52,416 [Doc.

112-3: Ordinances at 56].       Within each salary grade, employees are

assigned “Steps” and “Grades” that dictate the exact salary for each

employee. [Id. at 67–69]. As of July 1, 2016, Conner was a Step 3, Grade

01 employee, placing her annual salary at $35,820.00. [Id. at 67; Doc. 112-

11: Conner’s Pay Stub 10/27/2016–11/16/2016 at 1].

      B.    The Section 14 Pay Plan

      In addition to the Ordinances, CCEMS fashioned Standard Operating

Guidelines (“SOGs”) that apply only to EMS employees. [Doc. 112-10:

CCEMS SOGs at 5; Doc. 112-14: Lord Deposition at 12 (page 40 of the

deposition)]. Section 14 of the SOGs contains a Pay Plan (the “Section 14

Pay Plan”) that lays out the payment structure for 24/48 schedule employees.

[Doc. 112-10: CCEMS SOGs at 19]. It is undisputed that all Plaintiffs were

aware of the SOGs and the Section 14 Pay Plan. The Section 14 Pay Plan

is the crux of this lawsuit.

      Pursuant to the Section 14 Pay Plan, 24/48 schedule employees were

to “be paid according to the revised semi-monthly, hourly, and overtime

rates.” [Id.]. The first step in ascertaining these three amounts is to calculate

the hours that a 24/48 schedule employee would work in a calendar year.

An employee working 40 hours per week would work a total of 2,080 hours


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per year (52 weeks x 40 hours/week). However, an employee working 48

hours, 72 hours, and 48 hours in a repeating three-week cycle would work a

total of 2,928 hours per year.5

       Therefore, the base rate that such employee was to be paid (i.e., the

salary) was for working the expected 2,928 hours. Therefore, according to

the adopted Section 14 Pay Plan, the “hourly rate” that an EMS employee

was to receive would be the annual salary figure divided by 2,928 hours,

which was $12.23 per hour for Conner ($35,820.00/2,928 hours = $12.23

per hour). The overtime rate, therefore, was 1.5 times that base rate, which

was $18.35 per hour for Conner ($12.23 x 1.5).

       The calculation of the “semi-monthly rate” was much simpler. The

employee was scheduled and expected to work 2,080 hours at the base rate

per year. For Connor, that resulted in a base pay of $25,438.40 (2,080 hours

x $12.23). This was then divided in 24 equal semi-monthly payments, which

in the case of Conner was $1,060.00. It is undisputed that the Plaintiffs were

aware that the Ordinances were construed in this way, and that any




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  Three-week work cycles do not fit neatly into a 52-week calendar year. But in 51 weeks
(17 cycles), an employee would work 2,856 hours. Assuming that the final week of the
calendar year would be a 72-hour week, the total number of hours an EMS employee
would work in a year was calculated to be 2,928 hours (2,856 + 72).
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ambiguity in the Ordinances as they may apply to EMS workers were

resolved in this manner.6 [Id.].

       C.    CCEMS’s Payment Structure

       Conner was paid twenty-four times per year, with paychecks issued on

the 15th day of each month (or on the preceding Friday if the 15th fell on a

Saturday, Sunday, or Monday holiday) and the last day of each month (or

the preceding Friday if the last day of the month fell on a Saturday, Sunday,

or Monday holiday). [Doc. 112-12: 2016 Pay Periods at 3; Doc. 112-13: 2017

Pay Periods at 3]. Therefore, some semi-monthly pay periods accounted for

three weeks of work, while other pay periods accounted for two weeks of

work.7 [Doc. 112-12: 2016 Pay Periods at 3; Doc. 112-13: 2017 Pay Periods

at 3]. Each pay period, Conner was paid (1) her base “revised semi-monthly

rate,” and (2) her overtime based on the number of overtime hours on her

time sheets multiplied by her overtime rate. [Doc. 112-11: Conner’s Pay Stub

10/27/2016–11/16/2016 at 1].




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  In 2018, CCEMS amended the Section 14 Pay Plan and removed the “revised semi-
monthly rate” calculation. [Doc. 116-1 at 2]. At this point, CCEMS calculated the base
rate by dividing the salary listed in the Ordinances by 24 (but kept the same overtime rate
calculation). [Id.]. The parties not dispute herein whether this amended plan comports
with the FLSA.
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  Since a year consists of 52 weeks, in an ordinary year 20 pay periods would account
for two weeks while four pay periods would account for three weeks.
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     This payment scheme created discrepancies in Conner’s pay.

Because CCEMS paid a set “revised semi-monthly rate” each pay period for

all of her non-overtime work, during the pay periods that accounted for three

weeks of work CCEMS paid Conner substantially less per hour than the

hourly rate devised in the Section 14 Pay Plan. During the pay periods that

accounted for two weeks of work, however, CCEMS paid Conner

incrementally more than the hourly rate devised in the Section 14 Pay Plan.

Over the course of a year, though, these discrepancies evened out, and

Conner was paid what she was owed under the Section 14 Pay Plan.

     To illustrate, from July 1, 2016, to June 30, 2017, Conner’s annual

salary per the Ordinances was $35,820.00. [Doc. 112-11: Conner’s Pay

Stub 10/27/2016–11/16/2016 at 1]. Pursuant to the Section 14 Pay Plan,

Conner’s “revised semi-monthly rate” was $1,060.00, her base hourly rate

was $12.23, and her overtime hourly rate was $18.35. [Id.]. During a pay

period that accounted for two weeks of work, March 2, 2017, to March 15,

2017, Conner worked 96 hours—80 base hours and 16 overtime hours.

[Doc. 112-13: Conner’s Pay Stub 3/2/2017–3/15/2017 at 1]. For this two-

week period, Conner was again paid a “revised semi-monthly rate” of

$1,060.00—resulting in a base rate of $13.25 per hour ($1,060.00 ÷ 80 =

$13.25). [Id.]. It is undisputed that she was also paid for her 16 hours of


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overtime at the rate of $18.35 per hour. During a pay period that accounted

for three weeks of work, October 27, 2016, to November 16, 2016, Conner

worked 170.25 hours—120 base hours and 50.25 overtime hours. [Id.].

Conner was paid $1,060.00 as her “revised semi-monthly rate” and an

additional $922.09 for the 50.25 overtime hours. [Id.]. Based on Conner’s

base pay for this pay period—$1,060.00—and the number of base hours

Conner worked during this period—120—Conner was paid only $8.83 per

hour before overtime ($1,060 ÷ 120 = $8.83).

     From July 1, 2016, to June 30, 2017, Conner was paid in two-week pay

periods twenty times (40 weeks) and three-week pay periods four times (12

weeks). [Doc. 112-11 at 3]. Thus, Conner was paid $13.25 per hour during

the two-week pay periods (of which there were twenty during a calendar

year), and she was paid $8.83 per hour during the three-week periods (of

which there were four during the calendar year). However, over the course

of all 2,080 non-overtime hours during the calendar year, this aggregates to

$12.23 per hour in accord with the Section 14 Pay Plan. Therefore, over the

course of the calendar year, Conner was paid her non-overtime wages in full.

     The Plaintiffs contend that the Defendant’s calculation of the “revised

semi-monthly rate” violated their employment agreements as well as the

FSLA.


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IV.   DISCUSSION

      A.    Breach of Contract

      In order to address both of the claims asserted by the Plaintiffs, the

Court must first determine what the parties agreed to regarding employment,

and whether CCEMS has failed to abide by such agreement.

      To prevail on a breach of contract claim under North Carolina law, a

party must show “(1) existence of a valid contract and (2) breach of the terms

of that contract.” One Beacon Ins. Co. v. United Mech. Corp., 700 S.E.2d

121, 124 (N.C. Ct. App. 2010) (citation omitted). A contract is “a promise

supported by consideration, which arises when the terms of an offer are

accepted by the party to whom it is extended.” McLamb v. T.P. Inc., 619

S.E.2d 577, 580 (N.C. Ct. App. 2005) (citations and ellipsis omitted). A

unilateral contract is “a promise by one party or an offer . . . to do a certain

thing in the event the other party performs a certain act.” White v. Chatham

Mem’l Hosp., Inc., 387 S.E.2d 80, 81 (N.C. Ct. App. 1990) (citation omitted).

An offeree can accept a unilateral contract by performance. Wray v. City of

Greensboro, 787 S.E.2d 433, 437 (N.C. Ct. App. 2016).

      Unilateral employment contracts can be formed by county ordinances.

See Bolick v. County of Caldwell, 641 S.E.2d 386, 389 (N.C. Ct. App. 2007)

(“We believe the nature of the ordinance at issue . . . turns this action into


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one based on contract . . . .”). Terms of unilateral employment contracts can

also be found in employment materials.        See White, 387 S.E.2d at 81

(determining that statements in an employer’s personnel book constituted

evidence of an offer, and the employee’s continued employment constituted

evidence of acceptance); see also Cheek v. City of Greensboro, 152 F.

Supp. 3d 473, 477 (M.D.N.C. 2015) (“If an employer distributes materials

that promise certain benefits, the promises are enforceable, and the

employer must provide the benefits promised until it clearly informs

employees of a change in the benefits offered.” (citations and internal

quotation marks omitted)).

     Local governments “may generally alter benefits, make them more

generous or less generous, or eliminate any or all of them—just as they may

give pay raises or order across-the-board salary freezes or cuts.” Cheek,

152 F. Supp. 3d at 476 (citations omitted). “[A]n employee accepts an

employer’s unilateral offer to provide benefits by entering or continuing

employment.” Id. at 477 (citations omitted). Despite the unilateral nature of

local government employment contracts, “[p]ersons entering contracts . . .

have a duty to read them and ordinarily are charged with knowledge of their

contents.” State Farm Mut. Auto. Ins. Co. v. Gaylor, 660 S.E.2d 104, 107

(N.C. Ct. App. 2008); see also Cheek, 152 F. Supp. 3d at 482 (“To the extent


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the plaintiffs contend they did not read [its Personnel Manual, Employee

Handbooks, and Benefit Books], that is of no moment.” (citation omitted)).

Thus, employers are generally bound by the terms of materials that they

distribute, and employees are generally bound by materials in effect any day

they show up for work. Id.

      Here, the Plaintiffs argue that CCEMS breached the Plaintiffs’

employment contracts because CCEMS failed to pay the Plaintiffs the salary

listed in the Ordinances.    [Doc. 112 at 8–19].    The Plaintiffs claim that

CCEMS breached by dividing the stated annual salary by the total number

of hours each EMS employee was expected to be scheduled to work (2,928

hours), rather than the total number of non-overtime hours that were

anticipated (2,080). CCEMS argues that it did not breach the Plaintiffs’

employment contracts because it paid the Plaintiffs in accord with the Section

14 Pay Plan, which is part of the employment contract. [Doc. 109 at 15–17].

To resolve the Plaintiffs’ breach of contract claim, the Court must determine

(1) the components of the Plaintiffs’ employment contracts, and (2) whether

the Plaintiffs were paid accordingly.

      It is undisputed that the Ordinances form the basis of the Plaintiffs

employment contracts. See Bolick, 641 S.E.2d at 389. The Plaintiffs also

do not dispute that they knew of the SOGs and the Section 14 Pay Plan while


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employed at CCEMS. Yet, the Plaintiffs all continued to work and continued

to accept payment pursuant to the Section 14 Pay Plan. By doing so, North

Carolina law dictates that the Plaintiffs accepted the terms of, and, thus, the

calculations contained in, the Section 14 Pay Plan. See White, 387 S.E.2d

at 81; see also Cheek, 152 F. Supp. 3d at 477. Based on these undisputed

facts, the Court concludes that the Plaintiffs’ employment contracts consist

of the Ordinances and the SOGs. See Bolick, 641 S.E.2d at 389; see also

White, 387 S.E.2d at 81; Cheek, 152 F. Supp. 3d at 477. And the SOGs

incorporate the Section 14 Pay Plan into that contract. Id.

      The Plaintiffs argue that “[r]egardless of whether the Plan was a

component of [their] . . . employment contract[s], the ‘revised semi-monthly

rate’ calculation is both unenforceable and unlawful because . . . it directly

conflicts with the Ordinances.” [Doc. 116 at 12]. The SOGs, however, are

not at odds with the Ordinances. In the Section 14 Pay Plan, CCEMS applies

the annual salary listed in the Ordinances to calculate what to pay its

employees. This is the contract between the parties. In fact, this is the law

of the case. On the Plaintiffs’ previous appeal, the Court of Appeals held that

“[o]f course, the parties can contract to calculate wages in this way, subject

to minimum wage provisions.” Conner, 22 F.4th at 418 n.3. The Plaintiffs

were paid precisely what they were owed according to the specific terms of


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the Section 14 Pay Plan contained in the SOGs, and that hourly rate

comported with the minimum wage requirements.8                  [See Doc. 126 and

accompanying spreadsheet].

       The Plaintiffs argue that the Ordinances and the Section 14 Pay Plan

are directly at odds because the Ordinances deem the Plaintiffs to be

salaried employees, and thus “[t]hese employees are not paid on an ‘hourly

rate of pay.’” [Doc. 125 at 2]. This view was clearly rejected by the Fourth

Circuit. Conner, 22 F.4th at 418 n.3. The Ordinances and the Section 14

Pay Plan can easily be read in harmony, and the Plaintiffs undoubtedly

accepted their employment and their pay in accord with that harmonized

reading. Accordingly, there was no breach of contract.

       For these reasons, the Court will grant CCEMS’s motion for summary

judgment, and deny the Plaintiffs’ motion for summary judgment, as to the

Plaintiffs’ breach of contract claim.




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  CCEMS admits that it inadvertently underpaid the overtime of Plaintiff Cleveland Potts
during the pay period of January 12, 2017, to January 26, 2017, by $547.52. [Doc. 126
at 3–4 n.2]. As the Plaintiffs have not made a claim for unpaid overtime compensation in
this case, the Court need not address this inadvertent underpayment here.
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     B.    FLSA

     Having determined that the Section 14 Pay Plan constituted an integral

part of the Plaintiffs’ employment contracts, the Court now turns to the

question of whether that payment structure violated the FLSA.

     The FLSA protects workers by requiring employers “to pay their

employees both a minimum wage and overtime pay.” Conner, 22 F.4th at

420 (quoting Hall v. DIRECTV, LLC, 846 F.3d 757, 761 (4th Cir. 2017)).

Under the FLSA, employers are required to pay “at least the federal minimum

wage” and “not less than time and a half for each hour worked over forty

hours during a workweek.” Id. (citing 29 U.S.C. §§ 206(a)(1) and 207(a)(1)).

     There are situations where employees seek redress for wages for

“uncompensated hours worked that ‘fall between the minimum wage and the

overtime provisions of the FLSA.’” Id. at 421 (quoting Davis v. Abington

Mem’l Hosp., 765 F.3d 236, 243 (3rd Cir. 2014)). This type of claim is one

for “gap time,” or “time that is not directly covered by the FLSA’s overtime

provisions because it does not exceed the overtime limit, and to time that is

not covered by the FLSA’s minimum wage provisions because the

employees are still being paid a minimum wage.” Id. (quoting Davis, 765

F.3d at 243–44) (brackets and ellipsis omitted). “There are two types of gap

time—pure gap time,” where an “employee seeks to recover for unpaid


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straight time9 in a week in which they worked no overtime,” and “overtime

gap time,” where an “employee seeks to recover unpaid straight time for a

week in which they did work overtime.” Id. (citing Monahan v. County of

Chesterfield, 95 F.3d 1263, 1266 (4th Cir. 1996)). The Plaintiffs assert a

claim for “overtime gap time.”

       This Court previously dismissed the Plaintiffs’ FLSA claim for failure to

state a claim. Conner v. Cleveland Cnty., 2019 WL 3948365 (W.D.N.C. Aug.

21, 2019) [Doc. 59]. The Court determined that, by asking for only straight

time compensation, instead of overtime compensation, the Plaintiffs did not

state a valid claim for a violation of the FLSA. Id. at *2. The Fourth Circuit

disagreed and recognized overtime gap time claims, determining a viable

claim exists under the FLSA for compensation of unpaid straight time wages

when an employee is entitled to overtime wages, even when the employee

is paid her overtime wages. Conner v. Cleveland Cnty., 22 F.4th 412, 423

(4th Cir. 2022).

       Now, the Plaintiffs argue that, even though CCEMS paid their overtime

in full, the Plaintiffs are entitled to summary judgment because CCEMS

underpaid their straight time wages. Specifically, the Plaintiffs assert that the



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  “Straight time” compensation refers to the base salary an employee would earn if they
did not work overtime hours during a given workweek.
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overtime rate calculated in the Section 14 Pay Plan is correct and applicable

but argue that they were not paid the salaries (i.e., straight time) that they

were owed pursuant to the Ordinances. [Doc. 116 at 19; Doc. 120 at 8

(“Plaintiffs do not dispute that the Plan’s overtime calculation satisfies the

requirements of the FLSA.” (emphasis omitted)); Doc. 123 at 4].                        The

Plaintiffs’ argument is premised on the idea that the Plaintiffs should have

been paid their stated annual salaries as listed in the Ordinances as their

base pay. [Doc. 125]. Again, however, the Plaintiffs’ employment contracts

do not dictate that they be paid the salaries listed in the Ordinances as

calculated by the Plaintiffs.        The Plaintiffs were contractually owed the

salaries as calculated in the Section 14 Pay Plan.                  When applying the

Ordinances to a 24/48 schedule employee, the Ordinances are at best

unclear. The Section 14 Pay Plan clarifies how to apply the Ordinances, and

the Plaintiffs were paid accordingly.

        The Plaintiffs’ argument in this regard is entirely inconsistent. If the

payment of overtime was correct, then the hourly rate paid for those 848

hours (2,928 minus 2,080) must likewise be correct.10 Therefore, the regular

rate would be exactly 2/3 of that overtime rate and would be paid for the


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  By admitting that the overtime rate found in the Section 14 Pay Plan is correct and
lawful, the Plaintiffs effectively concede that the Section 14 Pay Plan is included in their
employment contracts.
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2,080 hours of non-overtime work. That is precisely what the Plaintiffs were

paid in accord with the Section 14 Pay Plan.

      That, however, is not the end of the analysis. The decision of the

Fourth Circuit dictates a different approach to the question of whether the

Defendant’s employment agreement violates the FLSA.               The Court of

Appeals provided an example to show how an employer can violate the

FLSA by depriving its employees of overtime gap time pay. Conner, 22 F.4th

at 423 (citation omitted). The Fourth Circuit stated:

            [A]ssume an employee’s salary is $1,500 each work
            week for straight-time wages, and in a given work
            week, the employee earns $750 in overtime pay.
            Instead of issuing the employee a paycheck for
            $2,250, the employer issues a paycheck in the
            amount of $1,750. The paystub designates a
            payment of $1,000 as “salary” and $750 as “overtime
            compensation.” In this scenario, there is a violation
            of the overtime provisions of the FLSA . . . because
            it is improper to designate $750 as “overtime pay”
            without first having paid all straight-time wages.
            Effectively, the employer has only paid the employee
            $250 in overtime pay out of the $750 owed.

Id. at 422–23. The Fourth Circuit later articulated the test for courts to

evaluate overtime gap time claims, explaining:

            The test is not whether the underlying employment
            agreement facially violates either the minimum wage
            or maximum hour requirements. . . . Instead, to
            determine whether there is an overtime gap time
            claim, we look to whether the straight time wages
            have been paid pursuant to the terms of the
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              employment agreement. If the straight time wages
              have not been paid as such, and an employee works
              overtime that week, then there could be an overtime
              gap time claim.

Id. at 429 (emphasis added).

         Both the Fourth Circuit’s example and test analyze the application of

the FLSA to each individual work week. Pursuant to the Section 14 Pay

Plan, CCEMS paid each Plaintiff a set amount of base pay each semi-

monthly pay period, while paying each Plaintiff fluctuating amounts of

overtime pay based on overtime hours worked. Thus, for the pay periods

that accounted for three weeks of work, which included 120 hours of non-

overtime pay, the Plaintiffs’ base hourly pay was less than their base hourly

rates.        Therefore,   for   these   pay   periods,   the      Plaintiffs   were

undercompensated.          This constitutes a per se violation of the FLSA.

Accordingly, the Court will grant the Plaintiffs’ motion for summary judgment,

and deny CCEMS’s motion for summary judgment, as to the FLSA claim.

         C.   Damages

         Employers that violate the FLSA are liable for unpaid overtime

compensation.       29 U.S.C. § 216(b). The Plaintiffs concede, however, that

they have been paid all the overtime they are due. In an overtime gap time

claim the employee can recover any unpaid base pay.



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      At the December 18, 2024 summary judgment hearing, the Court

asked the parties to provide the Court with a spreadsheet that contained the

following information for each Plaintiff during the time covered by the

Amended Complaint: (1) hours worked each week; (2) the amount owed

each week; (3) the amount actually paid each week in both overtime and

straight time; and (4) the difference between the amount owed and the

amount actually paid each week. Neither party followed these instructions

particularly well at all.   The Defendant used the column headings as

instructed, but allocated the base payments to dates entirely at odds with the

pay records submitted for the summary judgment motions. The Plaintiffs did

not even use the column headings as instructed. Nonetheless, the Court

has been able to discern from the pay records submitted that each of the

Plaintiffs was paid the total amount of base pay that was owed. Even though

over the course of a year the Plaintiffs were routinely shorted in their base

pay during the four pay periods comprised of three work weeks, the Plaintiffs

were overpaid during the other twenty pay periods, which made up the

difference—usually in advance. As such, even though the Court concludes

that there is a technical violation of the FLSA by the Defendant’s Section 14

Pay Plan arrangement, the Plaintiffs have no resulting overtime gap time




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claim losses. As a result, the Plaintiffs shall recover nothing by way of this

action.

V.    CONCLUSION

      For the foregoing reasons, the Plaintiffs’ motion for summary judgment

is granted as to the Plaintiffs’ FLSA claim and denied as to the Plaintiffs’

breach of contract claim. CCEMS’s motion for summary judgment is granted

as to the Plaintiffs’ breach of contract claim and denied as to the Plaintiffs’

FLSA claim. The Court concludes, however, that the undisputed evidence

shows that the Plaintiffs have no loss arising from such technical FLSA

violation, and therefore they shall recover nothing from the Defendant.



                                   ORDER

      IT IS, THEREFORE, ORDERED that:

      1.   The parties’ Joint Motion for Order Approving Stipulations of Fact

           [Doc. 107] is DENIED AS MOOT.

      2.   The Plaintiffs’ Motion for Summary Judgment [Doc. 111] is

           GRANTED IN PART AND DENIED IN PART.                   The Plaintiffs’

           Motion is DENIED as to the Plaintiffs’ claim for breach of contract.

           The Plaintiffs’ Motion is GRANTED as to the Plaintiffs’ claim under

           the FLSA. The Plaintiffs, however, shall have and recover nothing


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          on the FLSA claim as the undisputed evidence shows that the

          Plaintiffs incurred no loss as a result of the Defendant’s technical

          violation. As such, the Plaintiffs shall recover a judgment against

          the Defendant in the amount zero dollars ($0). The costs of this

          action are taxed against the Defendant.

     3.   The Defendant’s Motion for Summary Judgment [Doc. 108] is

          GRANTED IN PART AND DENIED IN PART. Specifically, the

          Defendant’s Motion is DENIED as to the Plaintiffs’ claim under the

          FLSA. The Defendant’s Motion is GRANTED as to the Plaintiffs’

          claim for breach of contract, and the Plaintiffs’ claim for breach of

          contract is hereby DISMISSED WITH PREJUDICE.

     A Judgment consistent with this Memorandum of Decision and Order

shall be entered contemporaneously herewith.

     IT IS SO ORDERED.
                       Signed: March 31, 2025




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